             Case 8:20-cr-00033-TDC Document 31 Filed 01/21/20 Page 1 of 1



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         *

        v.                                       *       Case No. 8:20-mj-00192-CBD

BRIAN MARK LEMLEY, JR.                           *

                                 *       *       *       *        *

                           ORDER OF DETENTION BY AGREEMENT

        In light of the representation of counsel for Defendant Brian Mark Lemley, Jr. that the Defendant

withdraws his request for a detention hearing and consents to detention at this time, it is hereby

ORDERED:

        1.       The Defendant shall be DETAINED BY AGREEMENT.

        2.       The detention hearing previously scheduled for January 22, 2020 is CANCELLED.

        3.       The Defendant reserves his right to request a prompt hearing to set appropriate conditions

of release or otherwise address his detention.


January 21, 2020                                                /s/
Date                                                     Timothy J. Sullivan
                                                         United States Magistrate Judge
